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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                        10/16/2020
 SM Kids, LLC, as successor-in-interest to
 Stelor Productions, LLC,
                                                          1:18-cv-02637 (LGS) (SDA)
                                  Plaintiff,
                                                          AMENDED ORDER
                      -against-

 Google LLC et al.,

                                  Defendants.


STEWART D. AARON, United States Magistrate Judge:

       Following a telephone conference with the parties, and for the further reasons set forth

on the record, it is hereby ORDERED, as follows:

       1. Defendants’ Letter Motion (ECF No. 113) is GRANTED IN PART and DENIED IN PART.

           In response to Defendants’ Request No. 2, Plaintiff shall produce all hard copy

           documents contained in the boxes that were discussed in today’s conference and with

           respect to ESI shall apply the search terms to be negotiated. In response to Request

           No. 10, Plaintiffs shall produce all documents and communications from January 1,

           2008 to March 26, 2018 concerning SM Kids, LLC, including but not limited to its

           formation and business.

       2. Interrogatories in this case shall be “restricted to those seeking names of witnesses

           with knowledge of information relevant to the subject matter of the action, the

           computation of each category of damage alleged, and the existence, custodian,

           location and general description of relevant documents,” in accordance with Local

           Civil Rule 33.3(a)
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     3. The parties shall execute the ESI protocol, implementing the changes ordered by the

         Court during today’s conference, no later than October 16, 2020.

     4. The parties shall meet and confer in good faith and seek to agree on custodians,

         search terms and date ranges. The parties also shall meet and confer in good faith in

         an effort to resolve all other disputes. If the parties are unable to resolve all their

         disputes, then no later than October 21, 2020, the parties shall file a joint letter (not

         to exceed 10 pages) setting forth each side’s position with respect to each remaining

         dispute.

     5. No later than October 16, 2020, Plaintiff shall file its anticipated Letter Motion to

         compel on the issues discussed during today’s conference. Defendants shall respond

         no later than October 22, 2020. Plaintiff shall reply by October 26, 2020. The Court

         shall hold a telephonic oral argument on the motion on October 28, 2020 at 10:00

         a.m. At the scheduled time, the parties shall each separately call (888) 278-0296 (or

         (214) 765-0479) and enter access code 6489745

SO ORDERED.

DATED:        New York, New York
              October 16, 2020

                                               ______________________________
                                               STEWART D. AARON
                                               United States Magistrate Judge




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